Case 1:03-md-01570-GBD-SN   Document 9920-2   Filed 06/17/24   Page 1 of 2




               EXHIBIT B
                                                                                      Case 1:03-md-01570-GBD-SN                                                            Document 9920-2
                                                                                                                                                                                       Ex. B
                                                                                                                                                                                                                Filed 06/17/24                                     Page 2 of 2


                   Personal Representative                                                            9/11 Decedent                                                                  Claim Information                                          Pain & Suffering Damages                                                                           Economic Damages

                                                                                                                  Nationality on                                                                                                                                                                                                                                                 Prior
        First        Middle                   Last       Suffix    First     Middle       Last           Suffix                    Date of Death   9/11 Site     Case             Complaint              Amendments & Substitutions    Prior Award       Amount            Treble                                 Report                                       Date of Report              Amount        Treble
                                                                                                                      9/11                                                                                                                                                                                                                                                      Award
1      Jamie                                  Brito               Victoria            Alvarez-Brito                    US           9/11/2001         NY       22cv05193       22cv05193, 1 at 1                                          N/A          $2,000,000.00        N/A      See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 1.          7/1/24         N/A     $1,277,218.00    N/A

2      Andrea                                Stauter              Edward       T.       Earhart                        US           9/11/2001         VA       18cv11870       18cv11870, 1 at 1                                          N/A              N/A              N/A     See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 24           7/1/24         N/A     $1,226,414.00    N/A

3   Dawn; Thomas                    Gonzalez; Gonzalez            Jenine               Gonzalez                        US           9/11/2001         NY       18cv11870       18cv11870, 1 at 5         5509, 5532, granted at 5565      N/A              N/A              N/A     See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 39.          7/1/24         N/A     $1,562,453.00    N/A

4      Lance                                 Ogren                Joseph       J.        Ogren                         US           9/11/2001         NY       18cv12277       18cv12277, 1 at 7            5548, granted at 5641         N/A              N/A              N/A     See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 62.          7/1/24         N/A     $4,025,861.00    N/A

5      Valada          B.                    Penny                Richard                Penny                         US           9/11/2001         NY       22cv05193       22cv05193, 1 at 9                                          N/A              N/A              N/A     See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 79.          7/1/24         N/A     $153,883.00      N/A

6       Gail        Ingersoll                Sezna                 Davis     Grier       Sezna            Jr.          US           9/11/2001         NY       22cv05193       22cv05193, 1 at 3                                          N/A              N/A              N/A     See Exhibit B-3 to Declaration of Jerry S. Goldman, Esq. at page 102.         7/1/24         N/A     $2,476,433.00    N/A




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